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F”~ED By
UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AU[,‘ 22
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CHANEL, INC., a New York corporation, ) ` " #f‘)‘:/S
)
Plaintiff, )
)
v. ) Civil Action No.: 05»2223-DV
)
CHAMEKA A. OWENS afl</a C.S. OWENS )
d/b/a GETTHATLOOK.COM d/b/a )
GET THAT LOOK, INC. d/b/a )
FOXYFASH.COM d/b/a FOXY FASH, INC., )
and DOES l-lO, )
)
Defendants. )
SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held en-Au-gust-.'Z$,-ZOO§. Present were
Charles F. Morrow, counsel for Plaintiff, and Stephen Leffler, counsel for Defendants. At the
conference, the following dates were established as the file dates for:

INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1):

The parties will make their disclosures by September 15, 2005.

JOINING PARTIES:

The parties shall join any additional parties by October 3, 2005.

AMENDING PLEADINGS:

The parties shall amend their pleadings by October 3, 2005. Any responsive pleading shall be
due 30 days after service.

INITIAL MOTIONS TO DISMISS:

    
 

Any initial Motion to Dismiss shall be iled b epte er l, 2005.

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COMPLETING ALL DISCOVERY:

All discovery shall be completed by March 3 l, 2006.

EXPERT WI'I`NESS DISCLOSURE:

Disclosure of expert testimony in accordance with Rule 26(a)(2) shall be made by Plaintiff on or
before April 30, 2006. Disclosure of expert testimony in accordance with Rule 26(a)(2) shall be made
by Defendants on or before May 31, 2006.

FILING DISPOSITIVE MOTIONS:

The deadline to file any dispositive motions (including motions for summary judgment) shall be
June 30, 2006.

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cut-off date. All motions, requests
for admissions, or other filings that require a response must be filed sufficiently in advance of the
discovery cut-off date to enable opposing counsel to respond by the time permitted by the Rules prior to
that date.

Motions to compel discovery are to be filed and served by the discovery deadline or within 30
days of the default or the service of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery deadline, unless the time for filing of such
motion is extended for good cause shown, or the objection to the default, response, answer, or objection
shall be Waived.

This case is set for jury trial, and the trial is expected to last 2-3 days. The pretrial order date,
pretrial conference date, and trial date Will be set by the presiding j udge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed attorney
mediation or private mediation at a time mutually convenient to the parties but in no event more than 30

days after the close of discovery.

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The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except motions
pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party may file
an additional reply, however, without leave of the court. If a party believes that a reply is necessary, it
shall file a motion for leave to file a reply accompanied by a memorandum setting forth the reasons for
which a reply is required

The parties have not consented to trial before the magistrate judge

This Order has been entered after consultation with trial counsel pursuant to notice. Absent good

cause shown, the scheduling dates set by this Order will not be modified or extended

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UNITED STATES MAGISTRATE IUDGE

Date: @(,(;M 0?0?,0?006'-

IT IS SO ORDERED.

MEMPHIS 170785vl

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02223 was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

